
2 N.Y.2d 980 (1957)
In the Matter of New York State Labor Relations Board, Respondent,
v.
Harmony Tea Shoppe, Inc., Appellant.
Court of Appeals of the State of New York.
Argued March 4, 1957.
Decided April 11, 1957.
David L. Benetar, H. H. Nordlinger and Robert C. Isaacs for appellant.
Philip Feldblum and Louis E. Goldstein for respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, VAN VOORHIS and BURKE, JJ. Taking no part: FROESSEL, J.
Order affirmed, with costs; no opinion.
